          Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 1 of 13




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                          )
 In re:                                                   ) Chapter 11
                                                          )
 ALEXANDER E. JONES,                                      ) Case No. 22-33553 (CML)
                                                          )
                        Debtor.                           )
                                                          )

                   APPLICATION OF THE OFFICIAL COMMITTEE
              OF UNSECURED CREDITORS OF ALEXANDER E. JONES TO
                  RETAIN AND EMPLOY TENEO CAPITAL LLC AS
              FINANCIAL ADVISOR, EFFECTIVE AS OF JANUARY 19, 2023

      If you object to the relief requested, you must respond in writing. Unless
      otherwise directed by the Court, you must file your response electronically at
      https://ecf.txsb.uscourts.gov/ within twenty-one (21) days from the date this
      application was filed. If you do not have electronic filing privileges, you must file
      a written objection that is actually received by the clerk within twenty-one (21)
      days from the date this application was filed. Otherwise, the Court may treat the
      application as unopposed and grant the relief requested.

      Represented parties should act through their attorney.

          The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

chapter 11 case of Alexander E. Jones (the “Debtor,” and such case, the “Chapter 11 Case”)

submits this application (this “Application”), pursuant to sections 328(a) and 1103(a) of title 11 of

the United States Code (the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the Local Rules

of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the Southern

District of Texas (the “Local Rules”), for entry of an order, substantially in the form attached

hereto as Exhibit A, authorizing the Committee to retain and employ Teneo Capital LLC (together

with its affiliates, “Teneo”) as generalized financial advisor to the Committee. In support of this

Application, the Committee submits the declaration of Marc S. Kirschner, Senior Managing
          Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 2 of 13




Director at Teneo (the “Kirschner Declaration”), attached hereto as Exhibit B. In further support

of this Application, the Committee respectfully states as follows.

                                       JURISDICTION AND VENUE

           1.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this Application pursuant to 28 U.S.C. § 1334. This matter is

a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

           2.      Venue in the Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           3.      The statutory and rule predicates for the relief requested herein are Bankruptcy

Code sections 328(a) and 1103(a), Bankruptcy Rules 2014 and 2016 and Local Rules 2014-1 and

2016-1.

                                               BACKGROUND

           4.      On December 2, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtor continues in possession of his

estate and is managing such estate as a debtor in possession pursuant to Bankruptcy Code sections

1107 and 1108. No request has been made for the appointment of a trustee or an examiner in the

Chapter 11 Case.

           5.      On December 13, 2022, pursuant to Bankruptcy Code section 1102, the Office of

the United States Trustee for the Southern District of Texas (the “U.S. Trustee”) appointed six of

the Debtor’s unsecured creditors to serve as members of the Committee.1 The Committee currently

comprises the following six individuals: (i) Robert Parker; (ii) Nicole Hockley; (iii) Jennifer

Hensel; (iv) David Wheeler; (v) Leonard Pozner; and (vi) Scarlett Lewis. Each member of the

Committee is a judgment creditor of the Debtor, following their successful prosecution of state


1
    See Notice of Appointment of Official Committee of Unsecured Creditors, dated December 13, 2022 [ECF No. 42].


                                                         2
        Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 3 of 13




court litigation in Texas or Connecticut stemming from the Debtor’s defamatory statements and

actions concerning the Sandy Hook shootings. 2

        6.       On December 19, 2022, the Committee selected Akin Gump Strauss Hauer & Feld

LLP (“Akin Gump”) to serve as its counsel in connection with the Chapter 11 Case, which

retention was approved by the Court on February 13, 2023.3 On January 5, 2023, the Committee

selected Nardello & Co. LLC (“Nardello”), subject to Court approval, 4 to serve as specialized

forensic financial advisor to aid in its review of the Debtor’s estate and prepetition transactions

and tracing analysis of the Debtor’s assets and income. On January 19, 2023, the Committee

selected Teneo Capital LLC (“Teneo”), subject to Court approval, to serve as generalized financial

advisor to the Committee.

                                          RELIEF REQUESTED

        7.       The Committee seeks to employ and retain Teneo as its generalized financial

advisor pursuant to Bankruptcy Code sections 328(a) and 1103(a), Bankruptcy Rules 2014 and

2016 and Local Rules 2014-1 and 2016-1, effective as of January 19, 2023.




2
  See Verified Statement of the Official Committee of Unsecured Creditors of Alexander E. Jones Pursuant to
Bankruptcy Rule 2019, dated January 17, 2023 [ECF No. 94].
3
  See Application of the Official Committee of Unsecured Creditors of Alexander E. Jones to Retain and Employ Akin
Gump Strauss Hauer & Feld LLP as Counsel, Effective as of December 19, 2022, dated January 18, 2023 [ECF No.
96] (the “Akin Gump Retention Application”); Order Authorizing the Official Committee of Unsecured Creditors of
Alexander E. Jones to Retain and Employ Akin Gump Strauss Hauer & Feld LLP as Counsel, Effective as of December
19, 2022, dated February 13, 2023 [ECF No. 157] (the “Akin Gump Retention Order”). As set forth in the Akin Gump
Retention Application, Akin Gump will be rendering services to the Committee on a pro bono basis, subject to the
terms contained therein and the Akin Gump Retention Order.
4
  See Application of the Official Committee of Unsecured Creditors of Alexander E. Jones to Retain and Employ
Nardello & Co. LLC as Specialized Forensic Financial Advisor Effective as of January 5, 2022, dated February 6,
2023 [ECF No. 136] (the “Nardello Retention Application”). As set forth in the Nardello Retention Application,
Nardello will be rendering services to the Committee on a pro bono basis, subject to the terms contained therein.

                                                        3
       Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 4 of 13




                                SERVICES TO BE PROVIDED

       8.      The Committee respectfully submits that it is necessary and appropriate for it to

retain and employ Teneo to, among other things and at the direction of the Committee’s counsel,

perform the following services (collectively, the “Services”):

                   a) become familiar with and analyze the Debtor’s assets, liabilities and overall
                      financial condition;

                   b) assist the Committee in evaluating and implementing strategic and tactical
                      options throughout the proceedings;

                   c) review financial and operational information provided by the Debtor,
                      including budgets, financial forecasts, business plans, financial statements
                      and other financial information of the Debtor and any related entities,
                      including Free Speech Systems, LLC;

                   d) review the Debtor’s financial reporting in the Chapter 11 Case, including
                      statements of financial affairs, schedules of assets and liabilities and
                      monthly operating reports, and prepare presentations to the Committee on
                      such financial reporting, as requested by the Committee;

                   e) review the financial aspects of claims and causes of action that are or may
                      be asserted, including avoidance and preference actions;

                   f) assist in any mediation the Committee is party to directly or indirectly;

                   g) analyze any asset sale(s) proposed by the Debtor;

                   h) assist in the review and/or preparation of information and analysis related
                      to the confirmation of a plan and related disclosure statement in this Chapter
                      11 Case and related proceedings, or such proposed recoveries to
                      stakeholders;

                   i) provide financial advisory services in support of litigation in the Chapter 11
                      Case, including analyses relating to damages, valuation and solvency;

                   j) if necessary, provide expert witness testimony, reports and declarations in
                      connection with litigation in the Chapter 11 Case, as requested and mutually
                      agreed; and

                   k) render such other consulting or such other assistance as the Committee or
                      its counsel may deem necessary that is consistent with the role of financial
                      advisor and not duplicative of services provided by other professionals in
                      this Chapter 11 Case.


                                                 4
           Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 5 of 13




           9.       Teneo’s extensive experience and expertise in financial advisory services is

particularly necessary in this Chapter 11 Case to, among other things: (i) provide assistance to the

Committee in evaluating the financial implications presented by the ongoing mediation, plan

negotiations and any other contested matters and (ii) supplement the services contemplated to be

provided by Nardello, which will be focused on asset tracing and forensic financial analysis.

                                        TENEO’S QUALIFICATIONS

           10.      Teneo has been recognized as a leading financial advisory firm focused on

distressed situations, valuation analyses and fiduciary roles in bankruptcy cases. Teneo frequently

serves as an advisor to companies, senior management and boards of directors in a broad range of

distressed corporate financial situations, including in chapter 11 cases and out-of-court

restructurings. In August 2020, Teneo acquired Goldin Associates (“Goldin Associates”),

expanding and deepening Teneo’s bankruptcy and restructuring expertise with Goldin Associates’

highly regarded experience in the field.5

           11.      Teneo’s professionals have extensive experience and have advised and provided

strategic advice to debtors in possession, official and unofficial committees and other interested

parties in, among other chapter 11 proceedings: In re Ultra Petroleum Corp; In re Ditech Holding

Corp.; In re: PG&E Corp.; In re Zohar III Corp.; In re Think Finance, LLC; In re Commonwealth

Puerto Rico; In re Enron Corp.; In re Revlon, Inc., et al.; In re Madison Square Boys & Girls Club,

Inc.; In re Real Industry, Inc., et al.; In re Novum Pharma, LLC; In re Metal Partners Rebar, LLC;

In re Sungevity Inc.; In re Zloop, Inc.; In re Elk Petroleum, et al.; In re Immune Pharmaceuticals,

Inc.; and In re Rentech WP U.S., Inc.




5
    The matters listed below include those of Goldin Associates.

                                                           5
       Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 6 of 13




        12.     In addition, Teneo and its senior professionals have considerable experience acting

as a fiduciary for creditors in chapter 11 cases, including serving as chapter 11 trustee in In re

Refco Inc. and serving as post-confirmation litigation trustee in In re Highland Capital

Management, L.P., In re Tribune Co. and In re Millennium Lab Holdings II, LLC.

        13.    As discussed in further detail below, Teneo has agreed to perform the Services at

significantly discounted hourly rates. This will enable the Committee to fulfill its fiduciary

obligations to unsecured creditors in the Chapter 11 Case in a cost-effective, efficient and timely

manner. As such, the Committee believes that the employment of Teneo to provide the Services

described above is appropriate and in the best interests of the Debtor’s estate and its unsecured

creditors.

                             PROFESSIONAL COMPENSATION

        14.    In recognition of the unique and important circumstances of this Chapter 11 Case,

Teneo has agreed to provide its services on a discounted hourly basis. Specifically, Teneo has

agreed to discount its customary hourly rate by 30%, except for Marc S. Kirschner, Senior

Managing Director, whose customary hourly rate will be discounted by 50%. Teneo has also

agreed that such rates will not be subject to any periodic increases.

        15.    Teneo’s standard hourly rates for 2023, along with the discounted hourly rates to

be charged in this Chapter 11 Case, are as follows:

                Title                        Standard Rates             Discounted Hourly Rates
     Senior Managing Director                  $975-$1,300                    $650-$683

        Senior Vice President                      $725                          $508

         Associate/Analyst                      $325-$500                     $228-$350




                                                 6
       Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 7 of 13




       16.     In addition to compensation for professional services rendered by Teneo personnel,

Teneo will seek reimbursement for reasonable out-of-pocket expenses incurred by Teneo in

connection with services provided to the Committee during the course of the Chapter 11 Case,

including but not limited to, costs of travel, lodging, legal counsel, research, communications and

applicable taxes and other direct expenses. The Committee will use reasonable efforts to limit

Teneo’s incurrence of such expenses, including, for example, reducing any travel expenses by

holding meetings virtually. The Committee will also work closely with Teneo, Akin Gump and

Nardello to ensure that any potential significant expenses to be incurred by Teneo are in the best

interests of the Debtor’s estate.

       17.     The Committee requests that all fees and related costs and expenses incurred by the

Committee on account of services rendered by Teneo in the Chapter 11 Case be treated as

administrative expenses of the Debtor’s estate pursuant to Bankruptcy Code sections 328, 330,

331, 503(b) and 507(a)(2), subject to approval by the Court.

       18.     The Committee understands that Teneo intends to apply for compensation for

professional services rendered and reimbursement of expenses incurred in connection with the

Chapter 11 case consistent with Teneo’s discounted hourly rates above, subject to this Court’s

approval and in compliance with applicable provisions of the Bankruptcy Code, including sections

330 and 331, the Bankruptcy Rules, the Local Rules, applicable U.S. Trustee guidelines, the Order

Granting Motion for Entry of an Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals, dated January 20, 2023 [ECF No. 106]

and any other applicable procedures and orders of this Court.




                                                7
       Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 8 of 13




       19.     Teneo has received no retainer in this Chapter 11 Case to represent the Committee.

Neither the Committee nor any of its members (or their representatives) are or will be liable for

any fees or costs incurred by Teneo in its representation of the Committee.

                                   NO ADVERSE INTEREST

       20.     Upon information and belief, and as set forth in the Kirschner Declaration, Teneo

does not hold or represent any interest adverse to the Debtor’s estate or his creditors in the matters

upon which Teneo is to be engaged. Therefore, Teneo believes it is eligible to represent the

Committee under Bankruptcy Code section 1103(b). To the best of the Committee’s knowledge

and based on the Kirschner Declaration, (a) Teneo’s connections with the Debtor, creditors, any

other party in interest or their respective professionals are disclosed in Schedule 2 to the Kirschner

Declaration and (b) the Teneo professionals working on this matter are not relatives of the U.S.

Trustee, or of any known employee in the office thereof, or any United States Bankruptcy Judge

of the Southern District of Texas. Teneo has not provided, and will not provide, any professional

services to the Debtor, any of the creditors, other parties in interest or their respective attorneys

and accountants with regard to any matter related to this Chapter 11 Case.

       21.     Teneo will conduct an ongoing review of its files to ensure that no conflicts or other

disqualifying circumstances exist or arise.      If any new material facts or relationships are

discovered, Teneo will supplement its disclosure to the Court.

                                      INDEMNIFICATION

       22.      In addition to the foregoing, and as a material part of the consideration for the

agreement of Teneo to furnish the Services to the Committee pursuant to the terms of this

Application, the Committee requests that the following indemnification from the Debtor’s estate

be provided to Teneo (collectively, the “Indemnification Provisions”):



                                                  8
       Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 9 of 13




                  (a) subject to the provisions of subparagraphs (b) and (c) below and approval
                      by the Court, the Debtor is authorized to indemnify, and shall indemnify,
                      and hold harmless, Teneo for any claims arising from, related to or in
                      connection with Teneo’s engagement under this Application, but not for any
                      claim arising from, related to or in connection with Teneo’s postpetition
                      performance of any other services, other than those in connection with the
                      engagement described herein, unless such postpetition services and
                      indemnification therefore are approved by this Court, and further, the
                      Committee and third parties working with the Committee in connection
                      with this bankruptcy case shall look only to the Debtor to satisfy any
                      liability in connection with Teneo’s engagement under this Application;

                  (b) the Debtor shall have no obligation to indemnify or hold harmless Teneo
                      for any claim or expense that is either (i) judicially determined (the
                      determination having become final) to have arisen primarily from Teneo’s
                      gross negligence, willful misconduct or fraud unless the Court determines
                      that indemnification would be permissible pursuant to In re United Artists
                      Theatre Company, et al., 315 F.3d 217 (3d Cir. 2003) or (ii) settled prior to
                      a judicial determination as to Teneo’s gross negligence, willful misconduct
                      or fraud, but determined by this Court, after notice and a hearing, to be a
                      claim or expense for which Teneo is not entitled to receive indemnity under
                      the terms of this Application; and

                  (c) if, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                      in this Chapter 11 Case (that order having become a final order no longer
                      subject to appeal) and (ii) the entry of an order closing this Chapter 11 Case,
                      Teneo believes that it is entitled to the payment of any amounts by the
                      Debtor on account of the Debtor’s indemnification obligations under this
                      Application, including, without limitation, the advancement of defense
                      costs, Teneo must file an application in this Court, and the Debtor may not
                      pay any such amounts to Teneo before the entry of an order by this Court
                      approving the payment. This subparagraph (c) is intended only to specify
                      the period of time during which the Court shall have jurisdiction over any
                      request for fees and expenses by Teneo for indemnification, and not as a
                      provision limiting the duration of the Debtor’s obligation to indemnify
                      Teneo.

       23.    The Committee believes that the indemnification contained in the Indemnification

Provisions is necessary and appropriate here in light of the unique circumstances of this Chapter




                                                 9
       Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 10 of 13




11 Case and this Debtor, as well as customary in other chapter 11 cases. 6 In its capacity as an

agent for its clients, Teneo typically requires indemnification from its clients similar to the

protection provided by the Indemnification Provisions. Teneo has informed the Committee that it

cannot proceed without indemnification in this Chapter 11 Case, particularly in light of the fact

that Teneo is providing its services to the Committee on a significantly discounted hourly basis.

Moreover, the Indemnification Provisions reflect the qualifications and limitations on

indemnification by the Debtor’s estate that is customary in this district.                     Accordingly, the

Committee submits that the Indemnification Provisions provided above are appropriate and

reasonable here.

                                  NO DUPLICATION OF SERVICES

         24.      As discussed in the Akin Gump and Nardello Retention Applications, all retained

and proposed Committee professionals are keenly aware of the need to manage any fees and

expenses incurred in this Chapter 11 Case and thus avoid duplication of efforts. The Committee

and Teneo believe that Teneo will carry out unique functions and its Services will not be

duplicative of the services that other professionals retained (or to be retained) in this Chapter 11

Case will provide to the Committee. Teneo is aware of the Committee’s proposed retention of

Nardello as its forensic financial advisor, which will provide specialized services focused on asset

tracing and forensic analysis. The Committee will use its reasonable efforts to clearly delineate

the respective scopes of work of Teneo and Nardello, to minimize duplication of efforts and to




6
  See e.g., In re Sanchez Energy Corp., Case No. 19-34508 (MI) (Bankr. S.D. Tex. Nov. 5, 2019) [ECF No. 563]
(approving the retention of a financial advisor to the official committee of unsecured creditors with indemnification
from the Debtor’s estate substantially similar to the indemnification provided in paragraph 20 hereof); In re J. C.
Penney Company, Inc., Case No. 20-20182 (DRJ) (Bankr. S.D. Tex. July 30, 2020) [ECF No. 1136] (same); In re
Talen Energy Supply, LLC, Case No. 22-90054 (MI) (Bankr. S.D. Tex. June 27, 2022) [ECF No. 963] (same).

                                                         10
      Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 11 of 13




maximize the effectiveness of each of Teneo and Nardello. In addition, Teneo will use reasonable

efforts to coordinate with Akin Gump and Nardello to avoid unnecessary duplication of services.

                      RELIEF EFFECTIVE AS OF JANUARY 19, 2023

       25.     The Committee believes that the employment of Teneo effective as of January 19,

2023, the date the Committee selected Teneo as its proposed financial advisor, is warranted under

the circumstances of the Chapter 11 Case. Upon its selection, the Committee requested Teneo to

commence work immediately on time-sensitive matters and devote substantial resources to the

Chapter 11 Case prior to the submission and approval of this Application. Thus, Teneo has

provided, and will continue to provide, valuable services to the Committee. Furthermore, Local

Rule 2014-1(b)(1) provides that an application for approval of employment made within thirty

(30) days of the commencement of the provision of services is deemed contemporaneous.

Nonetheless, the Committee is requesting approval as of January 19, 2023 out of an abundance of

caution.

                                     NO PRIOR REQUEST

       26.     No prior Application for the relief requested herein has been made to this or any

other Court.

                                             NOTICE

       27.     Notice of this Application has been provided to: (i) the U.S. Trustee; (ii) counsel to

the Debtor; and (iii) all parties requesting notice under Bankruptcy Rule 2002. Due to the nature

of the relief requested herein, the Committee submits that no other or further notice need be

provided.

       WHEREFORE, the Committee respectfully requests that the Court (i) enter an order,

substantially in the form attached hereto as Exhibit A, authorizing the Committee to employ and

retain Teneo as generalized financial advisor to the Committee for the purposes set forth above,
                                                11
      Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 12 of 13




effective as of January 19, 2023 and (ii) provide the Committee with such other and further relief

as the Court may deem just, proper and equitable.


Dated: February 17, 2023             THE OFFICIAL COMMITTEE OF UNSECURED
                                     CREDITORS OF ALEXANDER E. JONES

                                     /s/ Leonard Pozner
                                     Leonard Pozner, solely in his capacity as Co-Chair of the
                                     Official Committee of Unsecured Creditors of Alexander
                                     E. Jones and not in any other capacity

                                     /s/ Robert Parker
                                     Robert Parker, solely in his capacity as Co-Chair of the
                                     Official Committee of Unsecured Creditors of Alexander
                                     E. Jones and not in any other capacity




                                               12
      Case 22-33553 Document 170 Filed in TXSB on 02/17/23 Page 13 of 13




                               CERTIFICATE OF SERVICE

       I certify that on February 17, 2023, I caused a copy of the foregoing document to be served

by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern

District of Texas.

                                                    /s/ Marty L. Brimmage, Jr.
                                                    Marty L. Brimmage, Jr.
